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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
JOHN DOE, an individual,

       Plaintiff,
vs.                                                 Case No.: 18-cv-11776
                                                    Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN, et al.,                     Mag. Elizabeth A. Stafford
       Defendants.

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 PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS HIS 2ND AMENDED
                              COMPLAINT
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 I.     FACTUAL BACKGROUND

         Defendants Adjudicate a Sexual Misconduct Complaint against Plaintiff under
                              an Unconstitutional Policy

        On September 25, 2017, this Court issued its Opinion in Doe v. Univ. of Cincinnati,

 872 F.3d 393 (6th Cir. 2017), holding that where credibility is at stake, a live hearing and

 some form of live cross-examination is required. At that time the University had a Sexual

 Misconduct Policy, effective July 1, 2016, that allowed no live hearing and no cross-

 examination of any kind; it used a single investigator model.

        Four months later, on February 7, 2018, the University issued a new Sexual

 Misconduct Policy. ECF 47, Pg. ID 1334. The 2018 Policy intentionally did not comply with

 Cincinnati. It again denied students live hearings and cross-examination; it continued with

 the single investigator model. ECF 47-1, Pg. ID 206-216. At the same time, the University

 had a starkly different process for students accused of all other forms of misconduct – they

 were entitled to a live hearing and an opportunity to cross-examine witnesses. ECF 47-2,

 Pg. ID 169-171.

        On March 12, 2018, a female student filed a sexual misconduct complaint alleging

 that Plaintiff had engaged in a nonconsensual sexual encounter with her. ECF 47, Pg. ID

 1329. Plaintiff stated that the encounter was consensual. Id. Defendants proceeded to

 adjudicate the complaint using their 2018 Policy, which did not comport with Cincinnati. By

 April 2018, Plaintiff had earned all of the necessary credits to graduate cum laude with a

 degree in engineering at a cost more than $260,000. Based on a mere allegation, with the
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 investigation ongoing and no finding, the University placed an indefinite hold on Plaintiff’s

 degree and transcript. Id., Pg. ID 1333.

        On June 4, 2018, Plaintiff filed his Complaint. ECF 1. On June 5, 2018, Plaintiff filed

 his Motion for Temporary Restraining Order (“TRO”) and Preliminary Injunction (“PI”). ECF

 4. In response, Defendants mounted a legally unsupportable argument that their single

 investigator model, which provided for no hearing and no cross-examination, complied with

 due process.

        On June 14, 2018, with the University’s investigation 90 days old but still incomplete,

 this Court ordered that it release and provide Plaintiff with his official transcript and diploma.

 ECF 19, Pg. ID 270. In response to Plaintiff’s Motion for a TRO directing Defendants to

 provide him due process, Defendants argued that their single-investigator model was

 constitutional. ECF 21, Pg. ID 328-30; ECF 29, Pg. ID 706:10-707:7, 718:16-719:55. On

 July 6, 2018, the District Court granted in part Plaintiff’s Motion for a TRO. This Court

 ordered the University to provide Plaintiff a live hearing as set forth in the University

 Statement of Student Rights and Responsibilities with the exception that he was not

 authorized to directly ask questions of the claimant; cross-examination of witnesses would

 be done by university officials. ECF 30, Pg. ID 744.

        On July 25, 2018, Defendants appealed the District Court’s July 6, 2018 Order,

 arguing, in relevant part, that Plaintiff lacked standing and that his claims were unripe.




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 Plaintiff cross-appealed, arguing that he or his representative should be allowed to pose

 direct questions to the claimant and witnesses.

          On August 22, 2018, at Defendants’ request, this Court stayed the University’s

 investigation into Plaintiff’s alleged misconduct pending disposition of the parties’ cross-

 appeals. ECF 41, Pg. ID 1262.

           Doe v. Baum is Decided: This Case is Remanded for Reconsideration

          On August 1, 2018, Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018) was argued

 before the Court of Appeals. Judge Julia Smith Gibbons noted with concern the University’s

 continued refusal to comply with the law: “I can’t get past the University’s indifference,

 defiance, or whatever you want to call it to our Circuit precedent and the basic principles of

 due process.” See Oral Argument Before Sixth Circuit Court of Appeals in Case No. 17-

 2213,           John         Doe          v.        David          Baum,          et        al.,

 http://www.opn.ca6.uscourts.gov/internet/court_audio/aud1.php, at 29:06-29:26 (August 2,

 2018).

          On September 7, 2018, the Sixth Circuit issued its Opinion in Doe v. Baum, et al,

 903 F.3d 575 (6th Cir. 2018), reh’g en banc denied (Oct. 11, 2018), holding in pertinent part:

          “if a public university has to choose between competing narratives to resolve a case,
          the university must give the accused student or his agent an opportunity to cross-
          examine the accuser and adverse witnesses in the presence of a neutral fact-finder.
          Because the University of Michigan failed to comply with this rule, we reverse.” Id. at
          578.




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        On January 9, 2019 the University implemented an “Interim Policy” applicable to

 student sexual misconduct complaints. Defendants took the position in the Sixth Circuit that

 this policy (which, as an “interim” measure could be materially changed or replaced at any

 time) mooted Plaintiff’s cross-appeal. See Defs.-Cross Appellees’ Motion to Quash-Dismiss

 Appeal, Case 18-1903, RE 23, p. 2-3, 7-8. Plaintiff disagreed. See Pl.’s Resp. to Motion to

 Quash-Dismiss Appeal, Case 18-1903, RE 28, p. 7.

        On April 10, 2019, this case was remanded by the Sixth Circuit specifically for the

 Court to consider the Baum holding and the Interim Policy. The Court explained,

        “Since these appeals were docketed, this circuit published Doe v. Baum, 903 F.3d
        575 (6th Cir. 2018), and the University has implemented an interim policy that it says
        will now apply to Doe’s case. The district court should reconsider the impact of Baum
        and Michigan’s interim policy in the first instance. The district court’s preliminary
        injunction is VACATED, and we REMAND for reconsideration in light of Baum and
        the University’s interim policy.” ECF 42.

 The Sixth Circuit rejected Defendants’ Motion to Dismiss Plaintiff’s cross-appeal as “moot.”

 Id. Notably, the Court did not take up Defendants’ arguments of “standing” and “ripeness,”

 leaving this Court’s jurisdiction over this case intact, and mooting Defendants arguments

 here, which they now assert for the third time.

      On April 25, 2019 this case moved forward with a status conference. In light of Baum,

 the Court discussed what due process would be afforded to Plaintiff at the stage where a

 decision would be made as to a policy violation. Defendants took the position that their

 Interim Policy resolved all due process issues. Plaintiff disagreed in that the Interim Policy

 did not guarantee that where credibility was at stake, a live hearing with cross-examination
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 would be allowed, among other concerns. The Judge directed the parties to attempt to

 resolve their dispute as to the Interim Policy. Plaintiff was to submit proposed concerns and

 potential policy amendments to Defendants in writing by Thursday, May 2, 2019.

 Defendants were instructed to respond to Plaintiff’s proposal by Thursday, May 9.

 Thereafter a conference would be held with the parties. The conference was scheduled for

 June 13, 2019, but based on Defendant’s Petition for a Writ of Mandamus a stay was

 issued.

        On May 22, 2019, Plaintiff filed his Second Amended Complaint (ECF 47), alleging in

 pertinent part, that Plaintiff’s constitutional rights were violated in that he did not receive

 sufficient notice of the charges against him, and that the January 9, 2019 Interim Policy

 does not provide him with due process as required by Baum.

           On June 10, 2019, Plaintiff filed a Motion for Partial Summary Judgement, seeking,

 in pertinent part, an Order that:

        a. Defendants’ February 7, 2018 Policy, under which they began adjudicating an
           OIE complaint against Plaintiff, was unconstitutional; and that Defendants are
           enjoined from using it;

        b. In that credibility is at stake, Defendants must provide Plaintiff a live hearing and
           the opportunity to cross-examine adverse witnesses in front of a neutral fact-
           finder;

        c. Defendants are enjoined from placing a “hold” on Plaintiff’s student account or
           withholding Plaintiff’s certified transcripts or degree prior to a final adjudication
           against him; and

        d. Defendants shall not impose a pre-hearing suspension or other serious penalty
           prior to a final adjudication against Plaintiff, except where the risk of health and
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          safety of other students is deemed emergent and extraordinarily high; ECF 53,
          Pg. ID 1786.
 Defendants declined to concur in Plaintiff’s relief sought, including that in paragraph “a”

 above.

 II.      ANALYSIS

          A.     Defendants’ Argument that the Court has no Further Role to Play in this
                 Matter is Frivolous

          It is obvious that the current task of this Court, per the Sixth Circuit’s remand, is to

 ensure that Plaintiff receives process that is constitutional and which comports with Baum.

 ECF 42. In its Order, the Sixth Circuit specifically referenced the fact that the January 9,

 2019 Interim Policy had been issued, but did not order the district court to unquestioningly

 adopt the Interim Policy and divest itself of the case. Id. at Pg. ID 1265-6. To the contrary,

 the remand requires an analysis of the constitutionality of the Interim Policy. Id. Defendants

 ignore this reality.

       Presently, the Court has instructed the parties to attempt to resolve the question of

 what process Plaintiff will receive, and whether the Interim Policy is sufficient in that regard.

 Plaintiff has gotten little traction with Defendants. As can be seen from Defendants’ Motion

 for Stay and Petition for Writ of Mandamus, they do not believe Plaintiff or the Court have

 any further role to play in this matter. They posit that Plaintiff and the Court should let the

 University unilaterally decide how to adjudicate the complaint against Plaintiff.

 Unsurprisingly, Defendants refused to respond to Plaintiff’s basic questions about the

 process he will be afforded, including:
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        3. A hearing with cross-examination shall be provided. The Interim Policy does
        not expressly state that Respondents are entitled to a live hearing with the
        opportunity for in-person cross-examination of parties and material witnesses. In
        fact, the Interim Policy does not state anywhere that there is any guarantee to a
        hearing with cross-examination. (See Interim Policy at 25, “a hearing where
        warranted;” at 31, “if a hearing is required.”) Nor is there any reference to the legal
        requirement that where credibility is at stake, such as in a he said/she said case,
        cross-examination must be provided. Your letter agrees to a hearing with cross-
        examination “in Mr. Doe’s case.” I assume that means you do not intend to make this
        a part of your Interim Policy but agree to it for this particular case.
        •       Do Defendants agree to explicitly state in the Interim Policy that where
                credibility is at issue Respondents are entitled to a live hearing with direct, in-
                person cross-examination before being deprived of their protected liberty or
                property interests? If not, why not? The Interim Policy states that the hearing
                officer has “absolute discretion to decide on a format for the hearing…,” and
                will directly examine parties and witnesses. Per the Policy, only “follow-up
                questions” by the parties will be allowed. (See Interim Policy at 33) The
                definition of the term “follow-up” is unclear.
        •       Do Defendants agree that questions may be asked by the parties that go
                beyond the scope of the questions asked by the hearing officer? Will
                Defendants change the Policy to make this clear? If not, do Defendants
                agree to that language for this case?
        •       Do Defendants agree that the “absolute discretion” with regard to the format
                will not negate the requirement of live, verbal questions by the parties? Ex. A,
                Questions as to Defs.’ Resp. of May 9, 2019 at 10-13.

        Contrary to Defendants’ assertions, this Court cannot adopt, as a matter of law, their

 current position that the Interim Policy provides all necessary due process merely on the

 basis of their conclusory statements. But in addition, Defendants have a documented history

 of arguing that their policies are constitutional when the Sixth Circuit has held otherwise.

 Throughout Doe v. Baum, Defendants argued that the single-investigator model was

 constitutional. After the Cincinnati Court held that a live hearing and some form of live cross-

 examination was required, Defendants issued their 2018 Policy that provided no such

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 protections. Defendants then vociferously argued to this Court that the single investigator

 model provided all due process required in cases involving serious discipline where

 credibility was at stake. This position echoes the doomed argument Defendants earlier

 asserted in this case in response to Plaintiff’s Motion for a TRO, that private interviews with

 investigators and written feedback constituted cross-examination, and that in the

 University’s “expert” opinion, there was simply no need for a live hearing in Plaintiff’s case.

 ECF 21, Pg. ID 328-30; ECF 29, Pg. ID 706:10-707:7, 718:16-719:55. Furthermore, in their

 appeal of the TRO, Defendants represented to the Sixth Circuit that under the Interim Policy

 Plaintiff would only receive a hearing “if warranted by the facts adduced in the investigation.”

 Case: 18-1870, Doc. 23, Pg. 41. Mere weeks ago, Defendants refused to stipulate to an

 Order stating that they will not reinstitute their unconstitutional 2018 Policy, and that they

 would provide Plaintiff due process. Ex. B, Refusal to Concur. Instead, they filed this

 Motion—seeking to subvert the Sixth Circuit’s mandate that this Court reconsider its

 decision to grant a TRO in light of Baum and the Interim Policy. Desperate to avoid

 subjecting their new procedure to judicial scrutiny, Defendants prematurely seek the

 dismissal of Plaintiff’s case.

        This Court must eventually rule on what procedure will be used to adjudicate the

 complaint against Plaintiff. ECF 42. Defendants’ Motion attempts an end-run around the

 Sixth Circuit’s mandate. Defendants assert that this Court should immediately and

 permanently divest itself of this case without rendering an opinion on whether their Interim


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 Policy is constitutional—the Court should simply take their word for it. However, the Court is

 not in the correct procedural posture to grant Defendants’ requested relief. Under the Sixth

 Circuit’s Order, only when the Court adjudicates what process will properly be applied to

 Plaintiff (the Interim Policy, Statement of Student Rights and Responsibilities, or a different

 process ordered by the Court) can dismissal of Plaintiff’s case be considered.

        B.     Defendants’ Standing and Ripeness Arguments are Frivolous

        Defendants’ standing and ripeness arguments amount to an assertion that this Court

 does not have subject matter jurisdiction over Plaintiff’s claims. Under the procedural rules,

 a federal court must dismiss a case the instant it realizes that it lacks jurisdiction over it.

 Fed. R. Civ. P. 12(h)(3); see also Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). This

 Court properly held that Plaintiff’s claims were ripe. ECF 30, Pg. ID 733-4. It properly

 declined to address Defendants’ oral argument that Plaintiff lacked standing. Id.; see also

 ECF 29, Pg. ID 702:16-24; 703:16-22; 705:8-13. The Sixth Circuit’s remand of this Court’s

 injunction did not disturb this Court’s finding that it had jurisdiction over Plaintiff’s claims.

 ECF 42. Neither did the Sixth Circuit grant Defendants’ request that it find a lack of subject

 matter jurisdiction, conspicuously declining to address Defendants’ arguments regarding

 standing and ripeness. Instead, it remanded the case for further consideration by the district

 court. Id. Neither the Sixth Circuit’s holding, nor the action its holding requires of this Court

 could be accomplished unless Plaintiff’s claims were ripe and he had standing. Defendants’

 arguments are frivolous.


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        Accordingly, the law of the case created by both this Court and the Sixth Circuit

 holds that Plaintiff’s claims are ripe, and he has standing. The doctrine of the law of the

 case dictates that, “when a court decides upon a rule of law, that decision should continue

 to govern the same issues in subsequent stages in the same case.” See D’Andre M.

 Alexander, Plaintiff v. Edward Nietzel, Defendant, No. 2:16-CV-12071, 2018 WL 3685455,

 at *3 (E.D. Mich. July 10, 2018), report and recommendation adopted sub nom. D’Andre M.

 Alexander, Plaintiff v. Edward Nietzel, Defendant, No. 16-12071, 2018 WL 3659525 (E.D.

 Mich. Aug. 2, 2018) quoting Arizona v. California, 460 U.S. 605, 618 (1983). While this rule

 remains subject to a court’s discretion, Defendants have presented none of the factors

 justifying reconsideration of an earlier-decided issue, nor could they. See D’Andre M.

 Alexander, Plaintiff v. Edward Nietzel, Defendant, 2018 WL 3685455, at *3. Until this Court

 rules as to what process is due Plaintiff, his position remains factually and legally

 unchanged. Plaintiff’s claims have always been, and remain ripe for judicial review.

 Likewise, he has always had, and still maintains standing to bring his claims against

 Defendants. Defendants’ arguments are frivolous, and should be rejected. Should the Court

 require further exposition on these issues, Plaintiff relies on his briefing of them before the

 Sixth Circuit, as his position remains unchanged. See Case: 18-1903, Doc. 22, Pg. 35-56.

        C.     Plaintiff States a Due Process Claim

        As set forth above, the Court is not in the correct procedural posture to grant

 Defendants’ request to dismiss Plaintiff’s due process claim. Defendants may not use their


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 instant Motion to do an end-run around the Sixth Circuit’s Order that this Court consider

 what process is due to Plaintiff in light of Baum. ECF 42. Notwithstanding this procedural

 barrier to Defendants’ requested relief, Plaintiff has resolutely met the pleading standards

 under Fed. R. Civ. P. 12(b)(6) with regard to his due process claim.

        Under Federal Rule of Procedure 12(b)(6), the Court must “construe the complaint in

 the light most favorable to the plaintiff, accept all factual allegations as true, and determine

 whether the complaint contains ‘enough facts to state a claim to relief that is plausible on its

 face.’” Lee v. Sheet Metal Workers’ Nat. Pension Fund, 697 F. Supp. 2d 781, 784 (E.D.

 Mich. 2010) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A

 suggestion is plausible when it contains enough factual content that the court can

 reasonably infer that the defendant is liable. Baum, 903 F.3d at 580 (quoting Ashcroft v.

 Iqbal, 556 U.S. 662, 678 (2009)).

        Although as a matter of law “a judge may not grant a Rule 12(b)(6) motion based on

 a disbelief of a complaint’s factual allegations,” this is precisely what Defendants ask this

 Court to do. Columbia Natural Res., Inc. v. Tatum, 58 F.3d 1101, 1109 (6th Cir. 1995).

 Defendants seek dismissal of Plaintiff’s due process claim on the basis of their belief that

 the Interim Policy is constitutional. However, the law requires that the Court may only

 dismiss a complaint “‘if it is clear that no relief could be granted under any set of facts that

 could be proved consistent with the allegations.’” Apseloff v. Family Dollar Stores, Inc., 236




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 Fed. App’x 185, 187 (6th Cir. 2007) (quoting Hishon v. King & Spalding, 467 U.S. 69, 73

 (1984)).

        According to the Sixth Circuit, if it is at all plausible (beyond a wing and a prayer) that

 a plaintiff would succeed if he proved everything in his complaint, the case proceeds. Baum,

 903 F.3d at 581. Plaintiff pled specific facts plausibly demonstrating that the Interim Policy

 does not provide the due process required by Baum, including that the Interim Policy does

 not guarantee a hearing or cross-examination even where credibility and serious discipline

 is at stake; and permits ultimate decision-makers regarding sanctions in these cases to

 deprive students of their constitutionally protected interests without first assessing

 credibility. ECF 47, Pg. ID 1340-4, ¶¶ 82-6. He pled specific facts plausibly demonstrating

 that he has suffered concrete harm and damages as a result of Defendants’ actions, and

 that he remains in immediate peril of future harms. ECF 47, Pg. ID 1330-2, 1337-8, 1348-

 51, ¶¶ 30-8, 58-65, 98-116; Pg. ID 1329-32; 1348-51, ¶¶ 20-1, 29-38, 98-116; Pg. ID 1333,

 ¶¶ 44-6.

        If Defendants intended to provide a hearing and cross-examination where required to

 do so by law, they would have done so unambiguously. As set forth above, their actions

 belie their so-called intent to provide Plaintiff due process. Defendants want Plaintiff and this

 Court to be satisfied with their current representation that Plaintiff will be provided due

 process—despite the fact that their representations are ever-changing, depending on which

 legal argument is most expedient for them to make in any given moment. Moreover, the


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 current policy governing the adjudication of sexual misconduct claims is only “Interim”

 (meaning,         “provisional,        temporary,         stop-gap,         or        make-shift;”

 https://www.dictionary.com/browse/interim (June 26, 2019)), and accordingly may be

 changed or replaced at any time. Neither Defendants’ lip-service, nor their carefully cropped

 selections from the Interim Policy can, as a matter of law, comprise the basis for dismissal

 of Plaintiff’s due process claim under Fed. R. Civ. P. 12(b)(6). Accepting all of Plaintiff’s

 factual allegations as true, and drawing all reasonable inferences in his favor, this Court

 must find that these facts and inferences plausibly give rise to an entitlement to relief, and

 deny Defendants’ motion. Logsdon v. Hains, 492 F.3d 334, 340 (6th Cir. 2007); Iqbal, 556

 U.S. at 679. Defendants’ motion must be denied.

        D.      Defendants are not Entitled to Qualified Immunity

        First, Defendants’ claimed defense of qualified immunity may only be considered

 with regard to Plaintiff’s claims for legal, not equitable relief. Collyer v. Darling, 98 F.3d 211,

 222 (6th Cir. 1996) (“[I]mmunity only precludes claims for monetary damages against

 officials in their individual capacities, and not claims for injunctive or declaratory relief.”).

 Second, in his Second Amended Complaint, Plaintiff asserts claims for legal and equitable

 relief as to the actions taken against him by Defendants up until the University’s process

 against him was stayed by this Court’s Order entered August 22, 2018. ECF 41.

        Plaintiff alleged facts sufficient to indicate that Defendants violated clearly

 established law. Russo v. City of Cincinnati, 953 F.2d 1036, 1043 (6th Cir. 1992). The


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 standard for determining whether qualified immunity applies is to ask (1) whether the

 officials violated the plaintiff's constitutional rights; and (2) whether the rights were clearly

 established. See Saucier v. Katz, 533 U.S. 194, 201 (2001). However, the Supreme Court

 has authorized lower courts to answer the second question first. See Pearson v.

 Callahan, 555 U.S. 223, 242 (2009); see also Binelli v. Charter Twp. of Flint, 488 F. App'x

 95, 97 (6th Cir. 2012). Compliance with this standard only requires Plaintiff to show that the

 action's unlawfulness was apparent ahead of time, and that its illegality would be obvious to

 an objective, reasonable person. See Binelli, 488 F. App'x 95 at 97.

        Plaintiff met this standard by alleging the following evidence of fact and law:

    • On September 25, 2017, the Sixth Circuit held that in cases of student misconduct
      where serious discipline is at stake, and which turn on questions of credibility, a live
      hearing and some form of cross-examination are required by the Fourteenth
      Amendment. Doe v. University of Cincinnati, 872 F.3d 393, 396 (6th Cir. 2017). ECF
      47, Pg. ID 1334, ¶ 49.

    • Defendants are responsible for ensuring the University’s compliance with the
      Fourteenth Amendment, as it applies to the provision of student discipline. Id. at Pg.
      ID 1326, ¶¶ 4-11.

    • Defendants are prosecuting a claim of sexual misconduct against Plaintiff, which
      largely and undisputedly turns on questions of credibility, under their Policy. If found
      guilty, Plaintiff faces expulsion, and/or the revocation of his degree. Id. at Pg. ID
      1328-44, ¶¶ 16-86.

    • The 2018 Policy does not afford students any hearing, live or otherwise, or any
      cross-examination. Nor was Plaintiff provided with these due process protections. Id.
      at Pg. ID 1333-40, ¶¶47-80.

    • The 2018 Policy Defendants applied in Plaintiff’s case went into effect on February 7,
      2018. ECF 47-1, Pg. ID 1364.

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 Crucially, the 2018 Policy post-dated Cincinnati and Doe v. Miami Univ., 882 F.3d 579, 600

 (6th Cir. 2018), holding that, where, as here, credibility and grave discipline are at stake, the

 Constitution requires these measures. ECF 47, Pg. ID 1334, ¶ 49-50. The unlawfulness of

 Defendants’ Policy was readily apparent before their attempts to enforce them on Plaintiff,

 and its illegality would have been obvious to a reasonable, objective person. In fact, Judge

 Gibbons remarked, “I can’t get past the University’s indifference, defiance or whatever you

 want to call it to our Circuit precedent and the basic principles of due process." See Oral

 Argument Before Sixth Circuit Court of Appeals in Case No. 17-2213, John Doe v. David

 Baum et al., http://www.opn.ca6.uscourts.gov/internet/court_audio/aud1.php, at 29:06—

 29:26 (August 2, 2018).

        Plaintiff pled evidence sufficient to defeat Defendants’ qualified immunity argument.

 As set forth in Plaintiff’s Complaint (ECF 47, Pg. ID 1333-40, ¶ 47-77), Defendants maintain

 two distinct and unequal policies with regard to student misconduct. Students accused of all

 types of misconduct other than “sexual misconduct” are provided with full due process

 rights, including a live hearing in front of a panel and cross-examination of witnesses. Id.

 These guarantees are conspicuously absent from the 2018 Policy. There is no hearing and

 no cross-examination guaranteed under this policy—not even where credibility is at stake.

 Id. Further, a final decision-maker on sanctions can, on appeal, suspend or expel a student

 without assessing credibility. Vitally, the external reviewer could sweep away not only the

 earlier decision on sanctions, but also all the fact-finding conducted and conclusions made


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 by the OIE investigator without hearing from either party or any witnesses. Id. This clearly

 violated the line of precedent ending in Cincinnati, as the Baum Court found. The 2018

 Policy Defendants applied to Plaintiff clearly violates the law. Doe v. Miami Univ., 882 F.3d

 579, 600 (6th Cir. 2018); Doe v. Univ. of Cincinnati, 872 F.3d 393, 396, 404-06 (6th Cir.

 2017); Flaim, v. Med. Coll. of Ohio, 418 F.3d 629, 641 (6th Cir. 2005).

        In addition to these deficiencies, as set forth in detail above, Defendants deprived

 Plaintiff of his property right to his education by placing a “hold” on his official transcript in

 spite of there being no official finding against him. ECF 47, Pg. ID 1333, 1348-51, ¶¶ 44-6,

 98-116. “The fundamental requisite of due process of law is the opportunity to be heard . . .

 .” Goss v. Lopez, 419 U.S. 565, 578 (1975) (quoting Grannis v. Ordean, 234 U.S. 385, 394

 (1914)). “At the very minimum . . . students facing suspension and the consequent

 interference with a protected property interest must be . . . afforded some kind of hearing.”

 Id. The hearing, at which the accused is given “an opportunity to present his side of the

 story,” must occur prior to the deprivation of the accused’s protected property

 interest. Id. at 581. See also Newsome v. Batavia Local Sch. Dist., 842 F.2d 920, 927 (6th

 Cir. 1988) (an accused has the right to a pre-discipline hearing before an impartial trier of

 fact); Ashiegbu v. Williams, 129 F.2d 1263 (6th Cir. 1997) (same). There is no case law

 allowing such a deprivation without a finding of wrongdoing. Plaintiff raised disputes over

 facts that might affect the outcome of the suit under the governing law, such that a

 reasonable jury could return a verdict in his favor, that Defendants violated his clearly


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 established constitutional right to due process. See Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); see also Simmonds v. Genesee

 Cty., 682 F.3d 438, 445 (6th Cir. 2012).

        E.     Plaintiff Stated a Claim under Title IX

        When combined with particularized allegations showing a causal connection

 between the flawed outcome and gender bias, allegations of particular procedural flaws

 affecting a disciplinary tribunal are sufficient to state an erroneous outcome claim. See Doe

 v. Miami University, 882 F.3d 579, 593 (6th Cir. 2018); see also Yusuf v. Vassar Coll., 35

 F.3d 709, 715 (2d Cir. 1994). This pleading burden “is not heavy,” and need only create the

 plausible inference of intentional gender discrimination. Miami, 882 F.3d at 593. As set forth

 below, this standard is satisfied by the types of allegations Plaintiff asserted in this case—

 including statements by pertinent university officials, and patterns of decision making that

 tend to show the influence of gender. See id.

        Plaintiff’s Title IX claim is predicated on the erroneous outcomes already secured by

 Defendants flat-out refusal to provide him with procedural due process, and their decision to

 punish Plaintiff prior to finding that he violated University policy. ECF 47, Pg. ID 1351-1355,

 ¶¶ 117-142. Plaintiff sufficiently pled facts showing the causal connection these erroneous

 outcomes have with Plaintiff’s gender, including that Defendants committed to “a feminist

 approach to service” regarding claims of sexual misconduct (Id. at Pg. ID 1356-7, ¶¶ 147-

 52); pledged to “Start By Believing” female students’ allegations regardless of evidentiary


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 support (Id. at 1346-7, ¶¶ 91-4); withheld Plaintiff’s degree and academic credentials prior to

 a finding against him (Id. at 1333, 1348-51 ¶¶ 44-6, 98-116); and are continuing to enforce a

 gendered “No Contact Order” against him (Id. at 1330-2, ¶¶ 31-8; 1351-1355, ¶¶ 117-142).

               1.      The “Hold” on Plaintiff’s Degree and Transcript Constitute an
                       Erroneous Outcome

        Defendants began to punish Plaintiff before even bothering to complete their

 investigation or make an official finding that he violated any University policy. These facts

 constitute an erroneous outcome. Claimant filed a report with the OIE on March 12, 2018.

 Subsequently, the OIE commenced an investigation to determine whether Plaintiff violated

 the Sexual Misconduct Policy, which continues to this day. No findings have been made.

 Nevertheless, beginning on April 19, 2018, the OIE barred Plaintiff from receiving his official

 transcript or credentials that he has graduated, and therefore barred him from enrolling in

 graduate school or obtaining employment for more than 50 days. ECF 47, Pg. ID 1333,

 1348-51, ¶¶ 44-6, 98-116. He was also subject to a No-Contact order which remains in

 place. Notably, under Defendants’ policies, a “No Contact Directive” and a “Transcript

 notation, hold, and/or notification to other institutions” double as “Protective or Supportive

 Measures” and “Possible Sanctions” demonstrating their punitive nature. ECF 47-1, Pg. ID

 189-90; 214-16; ECF 47-3, Pg. ID 1437, 1467-8. At the motion to dismiss state, where all

 reasonable inferences must be drawn in favor of the plaintiff, Defendants’ decision to take

 punitive action against Plaintiff even before officially finding against him casts serious doubt

 on whether the outcome of their disciplinary proceeding will be accurate, as is required
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 under Title IX. Doe v. Miami, 882 F.3d at 592. Plaintiff has sufficiently pled an erroneous

 outcome.

                  2.   Plaintiff Demonstrated a Causal Connection between the Interim
                       Policy’s Procedural Deficiencies and Gender Discrimination

        Plaintiff has not simply pled the procedural deficiencies of Defendants’ policies, but

 also pled facts indicating a causal connection between these procedural deficiencies and

 gender discrimination against male students. Plaintiff’s Second Amended Complaint sets

 forth facts showing that the University intentionally prohibits students accused of sexual

 misconduct from receiving due process protections available to accused students under the

 Statement of Student Rights and Responsibilities, which is used to adjudicate all other types

 of student misconduct. ECF 47, Pg. ID 1334-7, ¶¶ 51-7. While Defendants offer no

 explanation for the discrepancies between the two processes, Plaintiff has pled facts

 indicating that they are attributable to unlawful gender bias against male students. Id. at Pg.

 ID 1348, ¶ 97.

                       a.     “Start by Believing” Campaign

        Plaintiff pled specific facts showing that because the University recently came under

 public scrutiny for its handling of sexual misconduct claims, Defendants lauched a

 University-wide “Start by Believing” campaign, to promote automatic belief in a claimant’s

 version of events, amongst University officials, even prior to an investigation or hearing. Id.

 at Pg. ID 1334-48, ¶¶ 87-97. The gendered components of this campaign, and of the Policy

 which mirrors its goals and perspectives, are apparent in light of the fact that “Start By
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 Believing” is part of a broader “End Violence Against Women International” program. Id.

 Defendants promised to “start by believing” a female claimant’s perspective, regardless of

 evidence to the contrary, or whether any investigation or hearing has taken place.

 Defendants flawed procedures are ready implements for them to exert unlawful gender bias

 against male students. Id.

        Contrary to Defendants’ assertions, evidence that external pressures impacted

 University procedures can show gender bias under an erroneous outcome theory. In Doe v.

 Miami University, 882 F.3d 579, 594 (6th Cir. 2018), plaintiff sufficiently pled circumstantial

 evidence of gender discrimination, in part because he detailed facts showing that external

 pressures brought to bear on the university impacted its prosecution of sexual misconduct

 cases. Doe v. Miami, 882 F.3d at 594. The Court concluded this information was sufficient

 to create the plausible inference of intentional gender discrimination under the erroneous

 outcome theory. Id.

                       b.     Defendants Referred Plaintiff to the Sexual Assault
                              Awareness and Prevention Center

        Defendants made it clear they are committed to taking a “feminist approach” to the

 issue of sexual assault. Defendant Harper instituted the Sexual Assault Awareness and

 Prevention Center (“SAPAC”) as a student resource. SAPAC also assists the OIE in its role

 as an investigator of sexual misconduct complaints. The SAPAC’s “Vision and Philosophy”

 advertises its “feminist approach to service,” indicating that female students are given

 special status and services. ECF 47, Pg. ID 1352-3, 1356, ¶¶ 127-30, 149. Moreover, the
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 resources it provides are almost exclusively designed to support and empower female

 claimants, and to build consensus and education around issues of consent in intimate

 relationships.https://sapac.umich.edu/leading;https://sapac.umich.edu/healing.     Defendant

 McFadden, who was assigned to investigate the claims against Plaintiff, in fact referred him

 to the SAPAC to obtain resources during the disciplinary process. Given that the SAPAC is,

 in reality, a space predominately designed to empower and heal female claimants, and to

 educate the public about consent in intimate relationships, this referral betrays Defendants’

 preconceived notions about Plaintiff’s guilt as a consequence of his gender, as well as the

 structural gender bias inherent in the Policy and OIE’s administration of it. Id; see also ECF

 47, Pg. ID 1352-3, 1356, ¶¶ 127-30, 149.

                      c.     The Hold on Plaintiff’s Degree and No Contact Order
                             Evince Gender Discrimination

        Defendants further demonstrated unlawful gender bias by refusing to confer

 Plaintiff’s degree, and withholding his main academic credential—his transcript—for over 50

 days while he was in the process of applying to graduate school, even though the

 disciplinary process had not yet been completed (ECF 47, Pg. ID 1333, 1351-5, ¶¶ 44-6,

 117-142.); and implementing an ongoing, gendered “No Contact Order” against Plaintiff

 (ECF 47, 1330-2, ¶¶ 31-8; 1351-1355, ¶¶ 117-142).

        As explained above, the “hold” amounts to a decision to punish Plaintiff before

 actually finding against him. This preemptive punishment was clearly an instance of

 Defendants’ putting their pledge to “Start by Believing” female claimants into action, even
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 though their investigation was still ongoing. Similarly, Defendants further demonstrated

 unlawful gender bias by subjecting Plaintiff to their gendered “No Contact Order.” Id.

 Violations of the “No Contact Order” are prosecuted under the Policy, and may at any time

 be punished with expulsion, suspension, or the revocation of degree. Id.

        On its face, the “No Contact Order” is biased against male students. It states that it is

 Plaintiff’s sole responsibility to prevent all contact with the Claimant, and that its directives

 do not apply to her. Id. The Order’s inherent gender bias against Plaintiff is further

 demonstrated by the fact that Defendants issued it to Plaintiff in spite of the following facts:

        • Claimant reported no problems related to contact between her and Plaintiff during
          the four months following their sexual encounter; (Id. at Pg. ID 1330, ¶¶ 26-31)

        • Claimant admitted to having instigated contact with Plaintiff during this time, in
          person, and via text and Snapchat; (Id. at Pg. ID 1330, 1353 ¶¶ 26-31, 135)

        • Claimant made a demonstrably false complaint to the OIE that Plaintiff violated
          the Order, without consequence. (Id. at Pg. ID 1331-2, ¶¶ 35-8.)

 Plaintiff also pled that Defendants’ issuance and enforcement of “No Contact Orders” are

 biased against male students, because Defendants did not issue a reciprocal order to the

 Claimant, nor do they generally issue these orders to female students. (Id. at Pg. ID 1353,

 ¶134). Defendants engaged in a pattern of gender-based decision making with regard to the

 issuance and enforcement of “No Contact Orders” under the Policy. Taken together, this

 well-pled evidence shows a pattern of gender-based decision making sufficient to raise a

 reasonable expectation that discovery will reveal further circumstantial evidence of gender



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 discrimination. See Doe v. Miami, 882 F.2d 579 at 593-4. Accordingly, Plaintiff properly pled

 an “erroneous outcome” claim under Title IX.

        F.      Plaintiff Stated a Viable ELCRA Claim

        No legal authority exists to support Defendants’ erroneous assertion that ELCRA

 claims may not be brought against Defendants in their personal capacities. It is well-settled

 that the opposite is true. According to this Court, as well as the Michigan Supreme Court,

 Michigan     law     is   clear    that individuals can     indeed     be     held    liable    in

 their individual capacities for violating both the anti-discrimination and the anti-retaliation

 provisions of the ELCRA. See Ogden v. Michigan Dep't of Corr., No. 07-CV-10111, 2008

 WL 11355501, at *6 (E.D. Mich. June 2, 2008), quoting Elezovic v. Ford Motor Co., 697

 N.W.2d 851, 863 (Mich. 2005) (“agents can be held liable, as individuals, under the

 [EL]CRA”); see also Hall v. State Farm Ins. Co., 18 F. Supp. 2d 751, 764 (E.D. Mich.

 1998), aff'd, 1 F. App'x 438 (6th Cir. 2001) (holding that individual liability is available under

 ELCRA). Since ELCRA indeed permits agents of an employer, such as the named

 Defendants in this case, to be held liable in their individual capacities, Defendants’ motion

 must be denied.

 III.   CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that the Court deny

 Defendants’ Motion to Dismiss, and, as it appears that Defendants have no interest in




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 negotiating a resolution of this matter, issue an Order granting Plaintiff’s Motion for Partial

 Summary Judgment (ECF 53).

 Dated: June 26, 2019                                Respectfully submitted,
                                                     DEBORAH GORDON LAW
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                                  CERTIFICATE OF SERVICE
    I hereby certify that on June 26, 2019, I electronically filed the foregoing document with
    the Clerk of the Court using the ECF system, which will send notification of such filing
    and service of said documents to all parties through their counsel of record.

                              ______/s/Deborah L. Gordon______
                                      Deborah L. Gordon




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